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                    EXHIBIT A
             Declaration of Chad Johnson

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                Exhibit B
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First I don't want our conversation today to come across as I'm still trying. So please let me finish all

what I need to say. I learned long time ago not to have this kind of conversation with someone who

is angry or upset and especially if that someone means a lot to me because it always goes bad. So I

wanted things to cool off a bit before I talk to you and the other day I was in a hurry to catch my

flight so it did not seem to be the right time either but I don't like to leave things unsolved or

pending like that. So consider this is my last talk to you about this subject. I also hate flying, so you

never know may be I'll never see you again either, that's why I really wanted to finish these issues

today...


I also spent a fair amount of time thinking about what I'm going to say to you today because I it is

hard for me.


Something happened the other day made me think, really think about what happened. I was buying

my usual morning coffee and you know what the guy told me: "Just the mocha, no cold press

today?"... This made me sad, really sad that things between us changed that much that quickly.


So I start thinking in the last few days how and why this happened? Again, please I'm not here asking

you to rethink or change your mind. You pretty much made it clear to me what your decision was.

And I'm the one to blame. Before I left to Toronto, I asked you if you wanted to return the ring and

you said no because you loved it. But I told you to take your time and think about it before you make

your decision. When I was there we were texting and you asked me how I feel about next week, and

I told you I'm afraid of coming back. You know why? Because I was terrified of you returning my gift

back. When the following week came, I was terrified every single day, almost no sleep as I expect the

next day morning you're giving everything back to me and when the week was almost over, I was so

happy that things stayed the same. But anyway, may be I screwed things up when I texted you that

weekend but I'm sure you understand why I had to do that. Anyway by returning my gifts, in my

mind this was very insulting to me and I'll never forget that but I understand what you're going

through. While this never happened to me before, it really affected me a lot. I can't delete your

upset angry image from my head and I don't think I'll ever be able to. It was just one of the worst

days I've been through lately. But anyway, I guess time to move on...


Yesterday morning you were angry during rounds, upset as If I'm attacking you with my questions or

comments. You even told me that "I'm trying to get you in trouble" which was really shocking to me.

Is that what you really thinking-after all this-or you were just upset of something else. Because I'm

the last person to get you in trouble, I'm your real supporter here if not the only one who actually

has your back and this will not change


Then I looked at you yesterday afternoon, doing all this great work with patients and multitasking

millions of things at the same time: PD drain, taking sutures our, placing wound VAC, changing

dressing, closing an incision plus all other patient care stuff and I was impressed with how good your
work is and I would love for this to continue..


But since our last conversation, I noticed several things that changed in you and I will tell you what

I've seen and correct me if I'm wrong or just paranoid:


You used to follow-up before you leave the hospital about all patients, you stopped, in fact you did

not even tell me the other day that you were leaving, I'm not asking you to take my permission, but




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I'm just saying you've changed. You even used to ask me about the patients on the weekend, you

used to be on top of everything and having control over everything but I don't feel you are yourself

anymore. You start talking like others. When asked you while I'm in Florida, to call Ms. Reisdorf to

change her surgical date... I never expected you will say "I can't.", you were always on top of these

things, you didn't even try and you told me that she doesn't' have a phone or whatever reason it is...

Although Rachel was able to get hold of her right away. Remember when you changed my clinic and

OR cases one day for so I can do a baby case without me even telling you what needs to be done.

And I was impressed that you thought about this immediately. This is Rebecca that I know... The TEE

report on Lauren Woods, you would have sent it to me by email like you used to and you didn't.

You've changed and I hate to see you changed.


Words like: "I can't. It is not my job, I'm just the messenger, I'm just telling you..." you know how

much these words affect me? It makes me upset and especially when it comes from someone like

you. I never expected these words will come out of your mouth one day because I know it is not you

who is talking.


I don't want you to change from someone who loves doing her job to someone who is just doing her

job like everyone else. I don't see your heart at work anymore which makes me sad. You seem

frustrated and a bit angry, so please go back to Rebecca that I know.


Do you remember one day when you sent me a message telling me that a long line of people are

waiting to wipe out when they were leaving. Waiting for the clock to hit 5:00 exactly? You were

laughing at that because you never did it. You never thought about your time here because you

loved your job and I don't want this to change. I'm not asking you to stay late, you are free to do

whatever you want but I'm just telling you what I've noticed.


Rebecca, I don't want things at work to change between us. We have been working together for a

good period of time now and we can't ignore each other. I want you to continue doing your great

work and I want to teach you everything I know and I will continue to help you. What you've said to

me will not change this if that's what you are worried about.


I don't want to leave bad memories in any one's head and especially you. You are very talented, and

smart. You are one of the few people that I've met who can multitask successfully and you can do

more and more great work and we have a lot to do. I'm always proud of you and I love this work

relationship to continue. We have a lot to produce and you've a lot of potentials to be great one day.

I want you to succeed because this will make me happy.


Anything else, it is my personal life and I will deal with it. It has nothing to do with you. I hope these

words help clarifying things a bit more and at the end it is your decision.


So Thank you for all your help and for all what you do,




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                Exhibit D
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                                                            Expense Report

                                                Report Name : MN0915645-01/15/2018-Bahrain


                                  Trip Number & Location : MN0915645-01/15/2018-Bahrain




              Employee Name : Said, Sameh M.

                 Employee ID : 000183475




                              Report Header

                          Policy : Mayo Travel Expense Policy

                     Description : Rachel 57066

                        Report Id : 0777778E38784C83BF37

                    Report Date : 02/03/2018




Meal (0065010000)

Transaction   Expense          Payment     1 00%            Merchant         Amount     Approved   Personal   Adjusted   Has
Date (Date    Type             Type        Personal -       Name                        Amount     Amount     Claimed    Allocation
Paid)                                      Employee                                                -          Amount
                                           Responsibility                                          Custom
                                                                                                   30

                               BOA
                                                            HMSHOST
              Meal             Corporate
01/20/2018                                 No               AMSTERDAM        6.92       6.92       0.00       6.92       No
              (0065010000)     Card-
                                                            SCHIPHO
                               IBCP

Parking (0065000000)

Transaction   Expense          Payment     100%             Merchant         Amount     Approved   Personal   Adjusted   Has
Date (Date    Type             Type        Personal -       Name                        Amount     Amount     Claimed    Allocation
Paid)                                      Employee                                                -          Amount
                                           Responsibility                                          Custom
                                                                                                   30

                               BOA
                                                            MSP
              Parking          Corporate
01/20/2018                                 Yes              AIRPORT          192.00     0.00       0.00       0.00       No
              (0065000000)     Card -
                                                            PARKING
                               IBCP

Personal Expense

Transaction   Expense          Payment     1 00%            Merchant         Amount     Approved   Personal   Adjusted   Has
Date (Date    Type             Type        Personal -       Name                        Amount     Amount     Claimed    Allocation
Paid)                                      Employee                                                -          Amount
                                           Responsibility                                          Custom
                                                                                                   30

                               BOA
              Personal         Corporate                    SEVEN SEAS
01/18/2018                                 Yes                               514.68     0.00       0.00       0.00       No
              Expense          Card -                       JEWELLERY
                               IBCP

                               BOA
              Personal         Corporate
01/17/2018                                 Yes              DEBENHAMS        1,763.84   0.00       0.00       0.00       No
              Expense          Card -



                                                                                                                        MAYO 000884
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                       IBCP
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         Report Total :                 2,477.44

Company Disbursements

    Amount Due Employee :                   0.00

Amount Due Company Card :                   6.92

    Total Paid By Company :                 6.92

Employee Disbursements

Amount Due Company Card From Employee : 2,470.52




                                                                                MAYO 000885
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From:                       Said, Sameh M., M.D., M.B., B.Ch.
Sent:                       Sunday, February 4, 2018 12:38 AM
To:                         Johnson, Rachel M. [RO CAR]
Subject:                    RE: Bahrain




What do I need to do with this? Don't tell my wife, she will freak out



From: Johnson, Rachel M. [RO CAR]
Sent: Saturday, February 03, 2018 2:09 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: Bahrain


Or nevermind. ...you spent $1,763.84 at a store?? Debenhams???
And a $514.68 at Seven Seas Jewelery??


From: Johnson, Rachel M. [RO CAR]
Sent: Saturday, February 03, 2018 2:07 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: Bahrain


I need receipts for this trip, PLUS, I thought they were paying for your hotel there? The charge is on your
credit card


Rachel M. Johnson | Cardiovascular Surgery | Medical Secretary to: Sameh M. Said, M.D., Simon Maltais,
M.D., Ph. D., and Juan A. Crestanello, M.D. | Ph: 507-255-7066 | Fax: 507-255-8674 |
i ohnson, rachel4@mavo . edu
Mayo Clinic | 200 First Street SW | Rochester, MN 55905 | mavoclinic.org


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http://150vears.mavoclinic.orq/




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 Travel Card

 Scope

 This policy applies to all Mayo Clinic employees.


 Purpose

The Supply Chain Management (SCM) Corporate Travel Credit Card (travel card) is
designed for use by Mayo Clinic students, voting staff, residents, and employees who travel
for Mayo Clinic business purposes. It may also be used for non-travel related business
 expense as defined in this policy. This policy ensures that Mayo Clinic employees adhere to
federal, legal and financial requirements to avoid severe penalties.


 Policy

    • The travel card is the property of Mayo Clinic and is required to be used for all Mayo
      Clinic business related travel expense.
    • The cardholder and their Manager/Supervisor are responsible for ensuring that all
      purchases are for legitimate business needs and are in compliance with all Mayo Clinic
      Policies and Procedures.
    • Application for the travel card requires authorization by the applicant's direct supervisor
      or an administrator. The supervisor may assign any of the below available credit limits
      up to the maximum allowed for the cardholder's category:
          ° Student/Resident: Max: $5,000.00 (Other available limits: $2,000.00 and
            $1,000.00)
          ° Allied Health Staff: Max: $8,000.00 (Other available limits: $5,000.00, $2,000.00,
            and $1,000.00)
          ° Administrative Assistant: Max and only available limit: $1,000.00
          ° Voting/Consultant Staff: Max: $12,000.00 (Other available limits: $8,000.00,
            $5,000.00, $2,000.00, and $1,000.00)
    • Federal law requires the financial institution supporting the travel card to obtain, verify,
      and record information that identifies each person who opens an account. To process
      the application, the financial institution must have your name, street address, date of
      birth and other identifying information. The financial institution may ask for identifying
      documents from you as well.
    • Cards are issued in an individual's name; however, its use does not affect personal
      credit or utilize personal credit scores. Sharing cards is prohibited.
    • Cardholders are responsible for all charges on the travel card. Per IRS guidelines,
      reimbursement of business expense after 90 days will be taxable to the cardholder.
    • Cardholders are responsible for reconciling charges on the card in a timely manner
      (recommended within 14 days) after the charge was incurred.
    • The reconciliation process must include correctly identifying all charges as either
      business or personal expense.




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    • Cardholders must provide any required supporting documentation through the SCM
      approved mechanism.
    • The following are examples of unacceptable uses of the travel card. This list does not
      include all potentially unacceptable transactions.


          ° Cash                                   ° Computer hardware or software -
          ° Gift Cards                                 unless otherwise specified by policy
          ° Products and services (including           such as Dues and Professional
            but not limited to: capital                Reimbursement Policy
            equipment, medical supplies,
            office equipment, and office
            supplies)

    • The following are examples of acceptable uses of a travel card. This list does not
      include all potentially accepted transactions.

          ° Travel arrangements                    ° Meals for business purposes as
          ° Seminars and registrations               allowed in the Food and
          ° Expenses incurred while                    Beverage policy.
            traveling as allowed within Travel
            Policies

    • The travel card should not be used for personal expenses - except on a limited basis
     while on a Mayo Clinic business related trip.
    • Balance for non-reimbursed expenses placed on the card must be paid in full within 30
      days of the expenditure directly to Bank of America by the cardholder.
    • Any misuse and/or abuse will be documented and may result in:
          ° Notification to Manager/Supervisor
          ° Suspension of card privileges
          ° Termination of card privileges
          ° Formal corrective action up to and including termination; as determined by the
            employee's leadership and Human Resources Service Partner.
    • Cardholders and their Manager/Supervisors are required to respond promptly to
      Supply Chain Audit and Controls requests for documentation or clarification of any
      purchase made with the card.
    • If a cardholder's travel card is closed for violation of policy, any unpaid balance at the
      time the card is closed will be charged to the cardholder's department account and
      reported as taxable income to the cardholder. It is the responsibility of the cardholder
      to notify SCM of any payments to the department that decrease the taxable amount.
      To request a replacement credit card, an SCM policy exception, requesting
      reinstatement, must be submitted and approved by immediate supervisor. The account
      must be at a $0.00 balance for 30 days before submitting a policy exception. After
      review and approval by SCM, a new card may be issued.
    • Cardholder must surrender the travel card to their immediate supervisor prior to
      departure of employment.
    • Cardholders are personally responsible for all late payment fees.


 Procedure




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   1. The potential cardholder submits an application electronically and acknowledges the
      terms & conditions.
   2. The application is forwarded to their direct supervisor for review and approval. By
       authorizing this application, the direct supervisor or administrator confirms that this
       employee is in good standing with Mayo Clinic. In addition, this approval indicates the
       employee is aware of the requirements and limitations that Mayo Clinic has placed
       upon the travel card and will travel on behalf of the organization.
   3. Once the application is approved by the direct supervisor or administrator, the
      application is routed to the Mayo Clinic Corporate Credit Card team for review and
      action.
   4. The Corporate Credit Card team reviews the application to ensure requested use is in
      compliance with Policy. If the application is approved by the Corporate Card team, the
      card will be ordered and sent directly to the cardholder's home address within 10-14
      business days.
   5. Once received, the cardholder is able to use the card as described in this policy.
   6. The cardholder will reconcile the card transactions and attach the required supporting
      documentation within a timely manner in the SCM approved mechanism.
   7. The cardholder will pay the credit card provider directly for any personal portions within
      30 days of the expenditure.
   8. Regular audits of purchases will be conducted by Supply Chain Audit and Controls and
       cardholders will be contacted as necessary to ensure compliance with all appropriate
       policies and processes.
   9. Any questions or concerns with the card can be directed to Supply Chain Management
       Customer Support at 507-266-5551 during normal business hours of 7AM - 5PM CST
       Monday - Friday.


 Related Document(s)

 How do I buy that guide

 Travel Card Online Application


 Definitions

 N/A


 References

 N/A



Approved by

 Supply Chain Leadership Management Team (SCMLT)


 Owner

 Dan Schmitz on behalf of Supply Chain Leadership Management Team (SCMLT)




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 Contact

 Scott Hammer, Reviewer

Amy Conway, Contact


 Revision History

 Date                    Synopsis of Change

 6/15/2017               Policy standardization



 Content Information

Notification Recipient: Alberts, Heidi D.
 Content ID: DOCMAN-0000191818
 Effective Date of Current Version: 06/26/2017
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Austin, Cannon Falls, Decorah, Eau Claire, Fairmont,
 Faribault, La Crosse, Lake City, Mankato,
 Menomonie, Owatonna, Red Wing

 Workflow Reviewer Name(s): Hammer, Scott A.
 Workflow Approver Name(s): Schmitz, Daniel K. (Dan)
 Scheduled Review Due Date: 1 1/01/2018

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From:                        Johnson, Rachel M. [RO CAR] [Johnson.Rachel4@mayo.edu] on behalf of Johnson, Rachel
                             M. [RO CAR] <Johnson.Rachel4@mayo.edu>
Sent:                        Wednesday, September 19, 2018 10:32 PM
To:                          Said, Sameh M., M.B., B.Ch., M.D.; Said, Sameh M., M.B., B.Ch., M.D.
Subject:                     RE: Mayo Travel Card Warning REF:0407012829



Good! I can't wait for AZ next week


From: Said, Sameh M., M.B., B.Ch., M.D.
Sent: Wednesday, September 19, 2018 4:27 PM
To: Johnson, Rachel M. [RO CAR]
Subject: Re: Mayo Travel Card Warning REF: 0407012829


Anyway on the good side I just finished seeing all patients and all good for tomorrow
Now going for the lobster

Sent from my iPhone


On Sep 19, 2018, at 5:24 PM, Johnson, Rachel M. [RO CAR] <Johnson, Rachel4 @mavo . edu> wrote:


        HAHAHA



        From: Said, Sameh M., M.B., B.Ch., M.D.
        Sent: Wednesday, September 19, 2018 4:20 PM
        To: Johnson, Rachel M. [RO CAR]
        Subject: Re: Mayo Travel Card Warning REF: 0407012829


        What the fuckkkkkkkkkkk?
        I don't want to apologize to those assholes
        Next time I'll use this card in the nightclub

        Sent from my iPhone


        On Sep 19, 2018, at 5:17 PM, Johnson, Rachel M. [RO CAR] <Johnson. Rachel4 @mavo . edu>
        wrote:


                 This is the $100 gift card for Kevin. Please copy and paste this for a response:


                 I understand Mayo Clinic policy, and am sorry for the inappropriate use of my
                 card. My secretary marked this as a personal expense in Concur, as it was, so
                 there shouldn't be any further issues.
                 Thank you
                 Sameh


                 OR something like that, but idk why they care. It's not like I'm asking Mayo to
                 pay for it. IT was marked as 100% personal from the beginning.




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From: Said, Sameh M., M.B., B.Ch., M.D.
Sent: Wednesday, September 19, 2018 4:11 PM
To: Johnson, Rachel M. [RO CAR]
Subject: Fwd: Mayo Travel Card Warning REF: 0407012829


What are these people talking about?
Before I say something inappropriate, I don't recall that but it has to be during a
trip but I don't remember
Can you tell me before I reply with something inappropriate to them ?


Sent from my iPhone


Begin forwarded message:


       From: Mayo Clinic Corporate CRM Card
       <mccorporatecrmcard@mayo.edu>
       Date: September 19, 2018 at 4:59:04 PM EDT
       To: "Said, Sameh M., M.B., B.Ch., M.D."
       < S aid . S ameh@mayo . edu>
       Subject: Mayo Travel Card Warning REF:0407012829


       Sameh Said,


       We are writing in regard to inappropriate activity on your Mayo
       Travel Card.


       Our records indicate the Bank of America card was used on
       9/5/2018 at Nova Restaurant Group in the amount of $102.50.


       Use of this card should be restricted to business expenses while
       traveling for Mayo Clinic only.


       If this abuse continues, your account may be terminated and
       notification will be sent to your supervisor and HR service partner.


       You are expected to remit your full personal balance to Bank of
       America by end of the next billing statement.


       Please let us know if you have any questions.


       Thank you,


       Mayo Clinic Corporate Credit Card Team
       Email: MCCorporateCC@mavo.edu
       Phone: 507-266-5551 for Customer Support
       Fax: 507-266-4270


       Mayo Clinic
       200 First Street SW
       Rochester, MN 55905
       www, mavoclinic. org


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From:                     Said, Sameh M., M.D., M.B., B.Ch.
Sent:                     Wednesday, June 20, 2018 10:03 PM
To:                       Johnson, Rachel M. [RO CAR]
Subject:                   Re: WTSA




But I don't want her to know...

Sent from my iPhone


On Jun 20, 2018, at 4:02 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


        Maybe she wants to know what you're doing


        From: Said, Sameh M., M.D., M.B., B.Ch.
        Sent: Wednesday, June 20, 2018 3:57 PM
        To: Johnson, Rachel M. [RO CAR]
        Subject: Re: WTSA


        Why my wife needs to know this?


        Sent from my iPhone


        On Jun 20, 2018, at 3:53 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


               Tuesday, June 26, 2018


               Flight to Los Angeles
               Flight leaves Minneapolis (MSP) on Tuesday, June 26 at 2:25pm with Delta -
               arriving in Los Angeles (LAX) at 4:18pm (3hrs, 53min). Flight Confirmation:
               JQQYMN


               Pick up HERTZ Rental Car - Confirmation #: H6694544517GOLD


               Hotel Reservation
               The Ritz-Carlton Bacara, Santa Barbara
               8301 Hollister Avenue
               Santa Barbara, CA 93117
               Check-in: 6/26 (4pm)
               Check-out: 7/1 (12pm)
               Confirmation #: 95827941


               Wednesday, June 27, 2018


               New Member/WTSA Welcome Reception
               7:00pm - 9:00pm
               Ocean Lawn
               *Resort Attire

                                                         l




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Thursday, June 28, 2018


Spanish Nights Theme Dinner
6:00pm - 10:00pm
Arrival Courtyard
* Cocktail Attire


Friday, June 29, 2018


Free Evening
Starting at 2pm.



Saturday, June 30, 2018


Family Luncheon
12:30pm - 2:00pm
Ballroom Terrace and Veranda


President's Reception and Banquet
7:00pm - 11:00pm
Ballroom Terrace and Ballroom A&B
*Black Tie/Evening Dress Attire Preferred


Sunday, July 1, 2018


Flight to Minneapolis:
Departing flight from Los Angeles (LAX) leaves Sunday, July 1 at 1:10pm with
Delta - arriving in Minneapolis (MSP) at 6:51pm (3hrs, 41min). Flight
Confirmation: JQQYMN


Have fun! Enjoy the nice weather!


Rachel




<Flights.pdf>

<Hotel Confirmation. pdf>

<Registration.pdf>

<Social Program.jpg>




                                         2




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Exactly and he doesn't get in the middle of things or try to stir things up




From: Said, Sameh M., M.D.
Sent: Thursday, November 16, 2017 9:43 AM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: Secret Santa Exchange




What I hate is the two faces person who is an asshole and trying to show he is nice. I
prefer to stay an asshole


You see, my problem is I'm not like these guys and they know that, that's why they
hate me. I just don't fit between them


I was trained by Dr. Schaff and that may be an issue but he behaves the same way
too, doesn't respond to this shitt




From: Johnson, Rachel M. [RO CAR]
Sent: Thursday, November 16, 2017 9:39 AM
To: Said, Sameh M., M.D.
Subject: RE: Secret Santa Exchange




Yeah that's disgusting but it's the same way here in the office with my two people




From: Said, Sameh M., M.D.
Sent: Wednesday, November 15, 2017 5:05 PM
To: Johnson, Rachel M. [RO CAR]
Subject: Re: Secret Santa Exchange




You see the shitt I'm dealing with. They kiss each other ass and they kiss Dearani
ass



I hate everyone


I'm just swallowing




Sent from my i Phone




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On Nov 1 5, 201 7, at 1 1 :00 PM, Johnson, Rachel M. [RO CAR]
<Johnson. Rachel4@mayo.edu> wrote:


   Lol




   From: Said, Sameh M., M.D.
   Sent: Wednesday, November 15, 2017 5:00 PM
   To: Johnson, Rachel M. [RO CAR]
   Subject: Re: Secret Santa Exchange




   Why?


   No body will know ...it's secret


   Sent from my iPhone



   On Nov 15, 2017, at 10:59 PM, Johnson, Rachel M. [RO CAR]
   <Johnson. Rachel4@mayo.edu> wrote:


         Please no




         From: Said, Sameh M., M.D.
         Sent: Wednesday, November 15, 2017 4:55 PM
         To: Johnson, Rachel M. [RO CAR]
         Subject: Re: Secret Santa Exchange




         I decided I'm bringing my secret Santa gifts from Victoria secrets then they will
         stop that shitt forever


         Sent from my iPhone



         On Nov 15, 2017, at 10:50 PM, Johnson, Rachel M. [RO CAR]
         <Johnson.Rachel4@mavo.edu> wrote:


            Why!




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      From: Said, Sameh M., M.D.
      Sent: Wednesday, November 15, 2017 4:51 PM
      To: Johnson, Rachel M. [RO CAR]
      Subject: Fwd: Secret Santa Exchange




      I want to throw up


      Sent from my iPhone



      Begin forwarded message:


         From: "Johnson, Rachel M. [RO CAR]"
         <Johnson. Rachel4@mayo.edu>
         Date: November 15, 2017 at 10:25:11 PM GMT
         To: "Said, Sameh M., M.D." <Said.Sameh@mavo.edu>
         Subject: RE: Secret Santa Exchange


         Lol.    You know who Santa is right?


         Secret santa is a game where you exchange names with people in the
         office and secretly get them gifts throughout the week and place them
         on their desk without them knowing.       They are supposed to try and
         figure out who their "secret santa" is.   The last day of the week,
         normally people give the biggest gift (up to $15)




         From: Said, Sameh M., M.D.
         Sent: Wednesday, November 15, 2017 4:24 PM
         To: Johnson, Rachel M. [RO CAR]
         Subject: Re: Secret Santa Exchange




         Listen i have language barrier and I don't understand a lot of this
         American and definitely non of the Canadian bullshitt


         So I need an explanation


         Sent from my iPhone



         On Nov 15, 2017, at 10:22 PM, Johnson, Rachel M. [RO CAR]
         <Johnson.Rachel4@mavo.edu> wrote:


                That sounds too mushy gushy




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           From: Said, Sameh M., M.D.
           Sent: Wednesday, November 15, 2017 4:22 PM
           To: Johnson, Rachel M. [RO CAR]
           Subject: Re: Secret Santa Exchange




           You are my secret Santa


           Sent from my iPhone



           On Nov 15, 2017, at 10:21 PM, Johnson, Rachel M. [RO CAR]
           <Johnson. Rachel4@mayo.edu> wrote:


              What is the title




              From: Said, Sameh M., M.D.
              Sent: Wednesday, November 15, 2017 4:21 PM
              To: Johnson, Rachel M. [RO CAR]
              Subject: Re: Secret Santa Exchange




              That's the title of my feather to you.... I just couldn't write it


              Sent from my iPhone



              On Nov 15, 2017, at 10:20 PM, Johnson, Rachel M. [RO CAR]
              <Johnson. Rachel4@mayo.edu> wrote:


                  Haha




                  From: Said, Sameh M., M.D.
                 Sent: Wednesday, November 15, 2017 4:19 PM
                 To: Johnson, Rachel M. [RO CAR]
                 Subject: Re: Secret Santa Exchange




                 You are my secret Santa


                  I'm not participating to fix Dr.Maltais Ego




                                  Confidential                                     MAYO 000912
CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 52 of 98




                 I know where is my gift is going to go...




                 Sent from my iPhone



                 On Nov 15, 2017, at 10:14 PM, Johnson, Rachel M. [RO
                 CAR] <Johnson. Rachel4@mayo.edu> wrote:


                    Lol. I would advise you not to participate because you
                    might get Melanie or Brenda's name




                    From: Said, Sameh M., M.D.
                    Sent: Wednesday, November 15, 2017 3:42 PM
                    To: Johnson, Rachel M. [RO CAR]
                    Subject: Fwd: Secret Santa Exchange




                    I don't hide secrets from you


                    Sent from my iPhone



                    Begin forwarded message:


                        From: "Maltais, Simon, M.D., Ph.D."
                        <Maltais. Simon@mayo.edu>
                        Date: November 1 5, 201 7 at 9:39:35 PM GMT
                        To: "Bagameri, Gabor, M.D."
                        <Bagameri. Gabor@mayo.edu>, "Cicek, M. Sertac,
                        M.D." <cicek.m@mavo.edu>, "Daly, Richard C., M.D."
                        <rdalv@mavo.edu>, "Dearani, Joseph A., M.D."
                        <idearani@mavo.edu>. "Greason, Kevin L., M.D."
                        <Greason.Kevin@mavo.edu>, "Maltais, Simon, M.D.,
                        Ph.D." <Maltais.Simon@mavo.edu>. "Pochettino,
                        Alberto, M.D." <Pochettino. Alberto@mayo.edu>,
                        "Said, Sameh M., M.D." <Said.Sameh@mavo.edu>,
                        "Schaff, Hartzell V., M.D." <schaff@mavo.edu>,
                        "Stulak, John M., M.D." <Stulak. John@mayo.edu>,
                        "Dearani, Joseph A., M.D." <idearani@mavo.edu>,
                        "Miller, Jordan D., Ph.D. [RO PHARM]"
                        <Miller.Jordan@mavo.edu>
                        Cc: "Jones, Renee M., M.S."
                        <Jones.Renee@mavo.edu>
                        Subject: FW: Secret Santa Exchange




                               Confidential                                  MAYO 000913
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                      Dear colleagues,




                      I suggested to Nadine and Melody we (on a
                      voluntary basis) be included to the Secret Santa
                      this year with our office staff. I think it would
                      promote camaraderie and positive spirit within our
                      group.




                      Here are the details for everyone who would like to be
                      involved.




                      Gift Price Range:       $10.00-$15.00


                      We will pick names Thursday, November 16th




                      We will do the exchange on the week of December
                      4-8th.

                      We came up with two options:      You can give one gift
                      for your Secret Santa on December 8th or you can
                      give small gifts each day.




                      If you could type a note with hints along with your gift
                      about yourself so your Secret Santa can try to guess
                      who you are.




                      Bringing the Christmas spirit, Excitement and
                      Laughter to CVS!!!




                      I will have printed copies to fill during department
                      meeting, or please feel free to complete online and
                      send to me.




                               Confidential                                      MAYO 000914
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                      Cheers.


                      S




                      From: Merkel, Nadine A.
                      Sent: Wednesday, November 15, 2017 10:12 AM
                      To: Maltais, Simon, M.D., Ph.D.
                      Subject: Secret Santa Exchange




                      Nadine A Merkel | Cardiovascular Surgery| Secretary |
                      Ph: 507-293-1375 | Fax: 507-255-7378 |
                      merkel.nadine@mavo.edu Mayo Clinic | 200 First
                      Street SW | Rochester, MN 55905 | mayoclinic.org
                      Mayo Clinic, a mission-driven worldwide leader in
                      health care for 1 50 years.
                      http://1 50vears.mayoclinic.org/




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                 Exhibit I
               CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 56 of 98



From:                        Said, Sameh M., M.D.
Sent:                        Saturday, November 25, 2017 5:00 AM
To:                          Johnson, Rachel M. [RO CAR]
Subject:                     Re: Flights to Bahrain




Fuck Melanie

Sent from my iPhone


On Nov 24, 2017, at 10:05 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


        Well here you go              Melody listening to my whole conversation while trying to book Hend's
        flight. Came over to my desk and said "You cannot be booking her travel. Since this is personal,
        she needs to book herself or have Sameh do it."




        From: Said, Sameh M., M.D.
        Sent: Friday, November 24, 2017 2:30 PM
        To: Johnson, Rachel M. [RO CAR]
        Cc: Hend Mohamed
        Subject: Re: Flights to Bahrain


        Obvious
        I don't have any body on my side in this freaking department


        Sent from my iPhone


        On Nov 24, 2017, at 10:28 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


                  I am on her side!


                  From: Said, Sameh M., M.D.
                  Sent: Friday, November 24, 2017 2:27 PM
               To: Johnson, Rachel M. [RO CAR]
               Cc: Hend Mohamed
                  Subject: Re: Flights to Bahrain


               That's what happens when I leave her alone for awhile, she becomes creative




                  Sent from my iPhone


                  On Nov 24, 2017, at 10:26 PM, Johnson, Rachel M. [RO CAR]
                  <Johnson.Rachel4(5)mavo.edu> wrote:


                          © THAT WAS A GREAT RESPONSE. Hahahaha
                          Do you want a window or isle seat?



                                                             l




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      From: Hend Mohamed [mailto:hannouda 03@yahoo.com]
      Sent: Friday, November 24, 2017 2:17 PM
      To: Johnson, Rachel M. [RO CAR]
      Cc: Said, Sameh M., M.D.
      Subject: Re: Flights to Bahrain


      Thank you very much Rachel for advocating on my behalf ©. We know
      you, Sameh, you are a rich guy so leave poor or mid- level people like

      me to enjoy the convenience of the economy class flight©. Rachel, we
      will definitely switch seats before 2 hours flying. Yes, please, go ahead
      and buy the Delta economy through Mayo Clinic. Thanks for your time!
      Hend


      Sent from my iPhone


      On Nov 24, 2017, at 10:59 AM, Said, Sameh M., M.D.
      <Said.Sameh(5)mavo.edu> wrote:


              You're both good and not part of most people
              # I'm sitting in business class


              Sent from my iPhone


              On Nov 24, 2017, at 6:58 PM, Johnson, Rachel M. [RO
              CAR] <Johnson.Rachel4(S)mavo.edu> wrote:


                      Well I wouldn't either for $8500


                      From: Said, Sameh M., M.D.
                      Sent: Friday, November 24, 2017 10:56
                      AM
                      To: Johnson, Rachel M. [RO CAR]
                      Cc: Hend Mohamed
                      Subject: Re: Flights to Bahrain


                       I know but i also know how she thinks?
                      After two hours flying there will be a
                      kiss and a question "Honey, can we
                      switch seats?"
                      So I'm not
                      She does not want to buy a business
                      class ticket
                      Thanks


                      Sent from my iPhone


                      On Nov 24, 2017, at 6:53 PM, Johnson,
                       Rachel M. [RO CAR]
                      <Johnson.Rachel4(S)mavo.edu> wrote:


                               No but for your
                               wife....


                                            2




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                       From: Said, Sameh M.,
                       M.D.
                       Sent: Friday, November
                       24, 2017 10:51 AM
                       To: Johnson, Rachel M.
                       [RO CAR]
                       Cc: Hend Mohamed
                       Subject: Re: Flights to
                       Bahrain


                       I'm not changing my
                       seat on the flight


                       Sent from my iPhone


                       On Nov 24, 2017, at
                       6:45 PM, Johnson,
                       Rachel M. [RO CAR]
                       <Johnson.Rachel4(S)ma
                       vo.edu> wrote:


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                 Exhibit J
                CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 62 of 98



From:                       Said, Sameh M., M.D., M.B., B.Ch.
Sent:                       Thursday, January 25, 201 8 1 :56 AM
To:                         Johnson, Rachel M. [RO CAR]
Subject:                    Re: Workplace Sexual Harassment




Good to know

Sent from my iPhone


On Jan 24, 2018, at 7:42 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


        Lol. Oh you'll know if I complained.. I would have complained to you before I'd turn you in


        From: Said, Sameh M., M.D., M.B., B.Ch.
        Sent: Wednesday, January 24, 2018 7:23 PM
        To: Johnson, Rachel M. [RO CAR]
        Subject: RE: Workplace Sexual Harassment


        Good, because it seems like it is the most famous theme going now in this country
        Just let me know before that and I will just leave quietly



        From: Johnson, Rachel M. [RO CAR]
        Sent: Wednesday, January 24, 2018 7:22 PM
        To: Said, Sameh M., M.D., M.B., B.Ch.
        Subject: RE: Workplace Sexual Harassment


        HA! No. I wouldn't backstab you like that.


        From: Said, Sameh M., M.D., M.B., B.Ch.
        Sent: Wednesday, January 24, 2018 12:50 PM
        To: Johnson, Rachel M. [RO CAR]
        Subject: FW: Workplace Sexual Harassment


        Did you complain?



        From: Jones, Renee M., M.S.
        Sent: Wednesday, January 24, 2018 8:11 AM
        To: Bagameri, Gabor, M.D.; Cicek, M. Sertac, M.D.; Crestanello, Juan A., M.D.; Daly, Richard C., M.D.;
        Greason, Kevin L., M.D.; Maltais, Simon, M.D., Ph.D.; Pochettino, Alberto, M.D.; Said, Sameh M., M.D.,
        M.B., B.Ch.; Schaff, Hartzell V., M.D.; Stulak, John M., M.D.; Miller, Jordan D., Ph.D. [RO PHARM]
        Cc: Dearani, Joseph A., M.D.
        Subject: FW: Workplace Sexual Harassment


        Good morning,
        Please review the attached and let me or Dr. Dearani know if you have any questions or concerns.


        Renee Jones, M.S.
        Operations Manager, Cardiovascular Surgery
        Mayo Clinic
        Office: 507.255.9165
                                                              l




                                                                                                                 MAYO 002486
       CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 63 of 98
Pager: 3-4958


From: Dearani, Joseph A., M.D.
Sent: Wednesday, January 17, 2018 5:11 PM
To: Jones, Renee M., M.S.
Subject: FW: Workplace Sexual Harassment




From: Kroeger, Brenda L.
Sent: Wednesday, January 17, 2018 4:29 PM
To: DL RST Department Chairs; DL RST Division Chairs
Cc: Wendorff, Stephanie R., SPHR, SHRM-SCP; Kroeger, Brenda L.
Subject: Workplace Sexual Harassment


*Senton behalf of Charanjit Rihal, M.D., Chair, Rochester Personnel Committee*


The topic of Sexual Harassment was discussed at the December 13th Department Chairs meeting. This is
a summary of key information, please discuss with your leadership team.


Brenda L. Kroeger | Executive Assistant to: Charanjit Rihal, M.D., Chair, Personnel
Committee | Stephanie R. Wendorff, PHR, Secretary, Personnel Committee |
Phone: (507)266-4707 | kroeqer.brenda@mavo.edu
Mayo Clinic | 200 First Street SW | Rochester, MN 55905 | www.mayoclinic.org




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                                                                                                       MAYO 002487
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From:                      Jones, Renee M., M.S.
Sent:                      Wednesday, January 24, 2018 2:1 1 PM
To:                        Bagameri, Gabor, M.D.; Cicek, M. Sertac, M.D.; Crestanello, Juan A., M.D.; Daly, Richard
                           C., M.D.; Greason, Kevin L., M.D.; Maltais, Simon, M.D., Ph.D.; Pochettino, Alberto, M.D.;
                           Said, Sameh M., M.D., M.B., B.Ch.; Schaff, Hartzell V., M.D.; Stulak, John M., M.D.; Miller,
                           Jordan D., Ph.D. [RO PHARM]
Cc:                        Dearani, Joseph A., M.D.
Subject:                   FW: Workplace Sexual Harassment
Attachments:               Workplace Sexual Harassment. docx




Good morning,
Please review the attached and let me or Dr. Dearani know if you have any questions or concerns.


Renee Jones, M.S.
Operations Manager, Cardiovascular Surgery
Mayo Clinic
Office: 507.255.9165
Pager: 3-4958


From: Dearani, Joseph A., M.D.
Sent: Wednesday, January 17, 2018 5:11 PM
To: Jones, Renee M., M.S.
Subject: FW: Workplace Sexual Harassment




From: Kroeger, Brenda L.
Sent: Wednesday, January 17, 2018 4:29 PM
To: DL RST Department Chairs; DL RST Division Chairs
Cc: Wendorff, Stephanie R., SPHR, SHRM-SCP; Kroeger, Brenda L.
Subject: Workplace Sexual Harassment


*Senton behalf of Charanjit Rihal, M.D., Chair, Rochester Personnel Committee*


The topic of Sexual Harassment was discussed at the December 13th Department Chairs meeting. This is a summary of
key information, please discuss with your leadership team.


Brenda L. Kroeger | Executive Assistant to: Charanjit Rihal, M.D., Chair, Personnel Committee |
Stephanie R. Wendorff, PHR, Secretary, Personnel Committee |
Phone: (507)266-4707 | kroeqer.brenda@mavo.edu
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             MAYO CLINIC
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Memo
                                                                              200 First Street SW
                                                                    Rochester, Minnesota 55905
                                                                                     507-284-251 1


                                                                   Charanjit S. Rihal, MD, MBA
                                                                    Chair, Personnel Committee
                                                                                     Rochester MN


Date:


To:        Rochester Department and Division Chairs


Re:        Workplace Sexual Harassment


Dear Colleagues,


Thank you for the discussion at the Department Chairs meeting this week. In response to
ongoing media coverage related to sexual harassment, we are reminding all staff and leaders
about Mayo's core values.
      1.   Our responsibility as leaders is to ensure a safe working environment for all of our
           staff, such that they can complete their professional duties without fear of
           discrimination, harassment or retaliation.
      2.   If you hear about issues related to mutual respect or sexual harassment, please contact
           the Personnel Committee Chair or Secretary for guidance. It is important that we
           report all incidents and situations so we can understand Mayo Clinic's overall status
           on this matter.
      3.   We have strong policies and processes in place to address issues that arise. Please
           take the time to review these as it will likely address many questions on this topic.
           Equal Employment and Affirmative Action. Sexual and Other Harassment; Title IX
           Sexual Misconduct Policy. The Corrective Action policy is another reference, though
           may not be applicable to all matters as many times a collegial conversation is
           appropriate. Corrective Action
      4.   We desire a professional and safe environment. Professional and personal boundaries
           must be respected. Striking the balance of collegiality and professionalism is our
           responsibility as chairs and leaders. Attached is a link to an article in the Wall Street
           Journal that was published recently, https://www.wsj.com/articles/is-office-romance-
           still-allowed- 15121 44685
      5.   We are reviewing our training materials and content to ensure they are robust and
           contemporary.

Do not hesitate to contact me as the Rochester Personnel Committee Chair or Stephanie
Wendorff, Secretary, Personnel Committee with questions or requests for consultations.




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                Exhibit K
                 CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 67 of 98



From:                          Said, Sameh M., M.B., B.Ch., M.D. [Said.Sameh@mayo.edu] on behalf of Said, Sameh M.,
                               M.B., B.Ch., M.D. <Said.Sameh@mayo.edu>
Sent:                          Wednesday, September 12, 2018 6:21 PM
To:                            Johnson, Rachel M. [RO CAR]; Johnson, Rachel M. [RO CAR]
Subject:                       RE: Meeting with Dr. Flick and Dr. Said



Sounds fishy and I can smell Dearani all over it
Fuckkkkk



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, September 12, 2018 11:02 AM
To: Said, Sameh M., M.B., B.Ch., M.D.
Subject: FW: Meeting with Dr. Flick and Dr. Said


You OK with this?


From: Anderson, Linda M. [RO A-A]
Sent: Wednesday, September 12, 2018 10:59 AM
To: Johnson, Rachel M. [RO CAR]
Subject: Meeting with Dr. Flick and Dr. Said


Hi Rachel,


Dr. Flick has requested that I set up a recurring meeting with Dr. Said every 2 months for the next 6 months.
Let's start with meeting #1. Can you give me some days and times over the next few weeks that Dr. Said could
meet with Dr. Flick. They are both located at SMH so the meeting will be here if that helps. Linda



Linda M. Anderson | Department of Anesthesiology & Perioperative Medicine |
Administrative Assistant to:
      Niki M. Dietz, MD; Kelly J. Doolittle, MD; Randall P. Flick, MD;
      DawitT. Haile, MD; Molly Herr, MD;     Kent H. Rehfeldt, MD;
      Gregory J. Schears, MD; Yu Shi, MD
Phone: 507-255-1246 | Fax: 507:255-2939 | E-mail: lmanderson@mavo.edu
Mayo Clinic | 200 First Street, SW., MB 2-860 | Rochester, MN USA 55905




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                Exhibit L
               CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 69 of 98



From:                      Said, Sameh M., M.B., B.Ch., M.D. [Said.Sameh@mayo.edu] on behalf of Said, Sameh M.,
                           M.B., B.Ch., M.D. <Said.Sameh@mayo.edu>
Sent:                      Tuesday, September 4, 2018 2:20 PM
To:                        Johnson, Rachel M. [RO CAR]; Johnson, Rachel M. [RO CAR]
Subject:                   Re: Coarctation case tomorrow



This is because of our shitty chair


Made every asshole in this fucking hospital able to look at us and talk to us this way
I'm really upset


Sent from my iPhone


On Sep 4, 2018, at 8:03 AM, Johnson, Rachel M. [RO CAR] <Johnson, Rachel4 @mavo . edu> wrote:


        I can't believe she has the guts to tell you that.


        From: Said, Sameh M., M.B., B.Ch., M.D.
        Sent: Saturday, September 01, 2018 11:27 AM
        To: Johnson, Rachel M. [RO CAR]
        Subject: Fwd: Coarctation case tomorrow


        Look at this ridiculousness
        She is threatening me...


        Sent from my iPhone


        Begin forwarded message:


               From: "Ashikhmina, Elena, M.D., Ph.D." <Ashikhmina.Elena@mayo.edu>
               Date: September 1, 2018 at 8:43:01 AM CDT
               To: "Said, Sameh M., M.B., B.Ch., M.D." < S aid . S ameh@mayo . edu>
               Subject: RE: Coarctation case tomorrow

               Please book it so that everybody else shows up.
               Also none of my business but FYI they are monitoring your weekend surgical
               activity very closely, so the indication of an emergent case should be thought
               through.


                    Original Message
               From: Said, Sameh M., M.B., B.Ch., M.D.
               Sent: Saturday, September 01, 2018 8:39 AM
               To: Ashikhmina, Elena, M.D., Ph.D.
               Subject: RE: Coarctation case tomorrow


               Great
               Thank you


                    Original Message-

                                                             l




                                                     Confidential                                        MAYO 001259
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From: Ashikhmina, Elena, M.D., Ph.D.
Sent: Saturday, September 01, 2018 8:38 AM
To: Said, SamehM., M B, B.Ch., M.D.
Subject: RE: Coarctation case tomorrow


I'll contact nurse anesthetist and we will plan 7:30.


    Original Message
From: Said, SamehM., M.B., B.Ch., M.D.
Sent: Saturday, September 01, 2018 8:38 AM
To: Ashikhmina, Elena, M.D., Ph.D.
Subject: RE: Coarctation case tomorrow


That will be fantastic


    Original Message-
From: Ashikhmina, Elena, M.D., Ph.D.
Sent: Saturday, September 01, 2018 8:37 AM
To: Said, SamehM., M.B., B.Ch., M.D.
Subject: RE: Coarctation case tomorrow


Ok. 7:30?


    Original Message-
From: Said, SamehM., MB., B.Ch., M.D.
Sent: Saturday, September 01, 2018 8:37 AM
To: Ashikhmina, Elena, M.D., Ph.D.
Subject: RE: Coarctation case tomorrow


Sorry


        U     C



    Original Message
From: Ashikhmina, Elena, M.D., Ph.D.
Sent: Saturday, September 01, 2018 8:36 AM
To: Said, SamehM., M.B., B.Ch., M.D.
Subject: RE: Coarctation case tomorrow


Any medical record number?


    Original Message
From: Said, SamehM., M.B., B.Ch., M.D.
Sent: Saturday, September 01, 2018 8:33 AM
To: Ashikhmina, Elena, M.D., Ph.D.
Subject: Coarctation case tomorrow


Hi Elena
I would like to do this baby tomorrow. A 3.4 kg neonate with severe coarctation
and hypoplastic arch. Plan for sternotomy and I'll need right radial and a femoral

                                           2




                                     Confidential                                    MAYO 001260
CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 71 of 98
arterial lines
Thanks
Sameh


Sent from my iPhone




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               Exhibit M
               CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 73 of 98



From:                       Said, Sameh M., M.B., B.Ch., M.D. [Said.Sameh@mayo.edu] on behalf of Said, Sameh M.,
                              M.B., B.Ch., M.D. <Said.Sameh@mayo.edu>
Sent:                       Thursday, September 6, 2018 10:32 PM
To:                         Johnson, Rachel M. [RO CAR]; Johnson, Rachel M. [RO CAR]
Subject:                      Re:



Trust me I'll give you the best service., you just need to get ready for it

Sent from my iPhone


On Sep 6, 2018, at 5:24 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


        I get that they are in town, but I wish I got this kind of service. I should have to rearrange
        patients that have been scheduled for a month for someone that wants surgery soon because
        of convenience.


        From: Said, Sameh M., M.B., B.Ch., M.D.
        Sent: Thursday, September 06, 2018 4:23 PM
        To: Johnson, RacheUI^^^CA^^eid^ebecca K., P.A.-C.
        Subject: Fwd:


        Team, Don't make look incompetent please


        Sent from my iPhone


        Begin forwarded message:


               From: "Hagler, Donald J., M.D." <Hagler.Donald(S)mavo.edu>
               Date: September 6, 2018 at 5:21:04 PM EDT
               To: "Said, Sameh M., M.B., B.Ch., M.D." <Said.Sameh(5)mavo.edu>
               Cc: "Johnson, Rachel M. [RO CAR]" <Johnson.Rachel4(5)mavo.edu>, "Reid, Rebecca K.,
               P.A.-C." <Reid. Rebecca (S)mayo.edu>
               Subject: RE:


               Ok
               I will tell them to wait.


               ^)onnW <=7- «5"gler,
               Professor of Pediatrics and Medicine
               Division of Pediatric Cardiology and
               Department of Cardiovascular Diseases
               Mayo Clinic College of Medicine
               Rochester, MN
               haqler.donald@mavo.edu
               507 266-0676
               FAX 507 255-8122



               From: Said, Sameh M., M.B., B.Ch., M.D.
               Sent: Thursday, September 06, 2018 4:20 PM
               To: Hagler, Donald J., M.D.


                                                           l




                                                      Confidential                                        MAYO 001268
CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 74 of 98
Cc: Johnson, Rachel M. [RO CAR]; Reid, Rebecca K., P.A.-C.
Subject: Re:


We will figure it out like always
No need to give up


Sent from my iPhone


On Sep 6, 2018, at 5:11 PM, Hagler, Donald J., M.D. <Hagler.Donald(5)mavo.edu> wrote:


        Not sure what to do
        Sounds like things are very busy next week.


        Ronald c?. ^gler,

        Professor of Pediatrics and Medicine
        Division of Pediatric Cardiology and
        Department of Cardiovascular Diseases
        Mayo Clinic College of Medicine
        Rochester, MN
        haaler.donald@mavo.edu
        507 266-0676
        FAX 507 255-8122



        From: Said, Sameh M., M.B., B.Ch., M.D.
        Sent: Thursday, September 06, 2018 3:14 PM
        To: Johnson, Rachel M. [RO CAR]
        Cc: Reid, Rebecca K., P.A.-C.; Hagler, Donald J., M.D.
        Subject: Re: Si


        Just check if we can make these changes in the list next week


        Sent from my iPhone


        On Sep 6, 2018, at 3:54 PM, Johnson, Rachel M. [RO CAR]
        <Johnson.Rachel4(5)mavo.edu> wrote:


                 Dr. Said,


                 Rebecca and I discussed and thought maybe you
                 could do the case on September 24, so I called the
                 patient but they really don't want to wait that
                 long. I'm not sure what you mentioned for next
                 week changes will work.


                 Let us know if any other plan would work.


                 Thanks,
                 Rachel


                 From: Johnson, Rachel M. [RO CAR]
                 Sent: Wednesday, September 05, 2018 2:55 PM
                 To: Said, Sameh M., M.B., B.Ch., M.D.


                                               2




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            Cc: Reid, Rebecca K., P.A.-C.; Hagler, Donald J., M.D.
            Subject: S|

            Dr. Said -


            Dr. Hagler called up just a minute ago wondering if
            you'd have a surgical date available next week for
            this patient? He had a heart cath done today.
            Looking at your calendar, not sure which day would
            work best, if any.


            Let me know.


           Thanks,
            Rachel


            Rachel M. Johnson | Cardiovascular Surgery |
           Medical Secretary to: SamehM. Said, M.D. and
            Juan A. Crestanello, M.D. | Ph: 507-255-7066 | Fax:
            507-255-8674 | iohnson.rachel4@mayo.edu
            Mayo Clinic | 200 First Street SW | Rochester, MN
            55905 | mayoclinic.org


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            health care for 150 years.
            http://150vears.mavoclinic.orq/




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                Exhibit N
                 CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 77 of 98



From:                         Said, Sameh M., M.D., M.B., B.Ch.
Sent:                         Thursday, March 22, 2018 3:03 AM
To:                           Johnson, Rachel M. [RO CAR]
Subject:                      RE: So much to do...




He came to the OR to watch me doing              case, asking how did you repair it?
Roxann Pike the anesthesiologist who hates me and is a close friend of Dearani himself and she spoke negative about
me in my evaluation and I know that for a fact, today Jon Johnson told me in front of her that Roxann wants to you do
baby of her relative and I'm sending it to you
You see, they know who has god result and they see how I work but they screw me but in the serious times, they send
me their patients and relatives to operate on them



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:50 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


Did you really tell him you'd leave? Because that's a good threat. Cardiology called me today and said "Geez,
everyone requests Dr. Said these days! Does Dearani even do peds anymore besides Ebsteins?" haha


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 9:49 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: So much to do...


Stulak is fucking with me and Dearani is listening to his bullshitt.
Then Dearani wants to delay my promotion to consultant because he thinks my evaluation may not be good and he
doesn't want to risk it, bullshitt
I told him if I'm not consultant by July, I'm leaving
And other crap, I'm just tired. I'm working hard and turned this place upside down but it is not appreciated and
That's enough



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:44 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


explain


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 9:44 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: So much to do...


Yes
And I'm really very angry



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:44 PM

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                                                          Confidential                                             MAYO 002457
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To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


Why what happened?? Are they still after you?


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 9:43 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: So much to do...


I had a very shitty day and I'm not going to tolerate Dearani or Stulak anymore
I think I will start to look for another place
I hate this fucking place



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:41 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


I thought I got more than this done today         maybe by the end of the week it'll be all done... Lol I just need to
focus


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 5:27 AM
To: Johnson, Rachel M. [RO CAR]
Subject: Re: So much to do...


I feel dizzy and I have headache...
I personally can't do it. I have no doubt you will be able to do it because you're the most efficient and multitasking
person in Mayo Clinic ( only after me)..
Hang in there girl




Sent from my iPhone


On Mar 20, 2018, at 10:11 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


        Here is just a small list of things I need to do in addition to scheduling all the patients
        surgery             I didn't even have training last week, it's so hard to focus when there is so much
        that needs to be done


             1.    Trips - Said/Crestanello
             i—Dental appts on calendar
             3.    Eric Steeves
             4.    CME
             5.    CV
             <&-.—Rebelein letter
                  —Ozaki
             8.    Marbree b-day
             9.    Keller flowers
             10. Lauren Hoel story

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   11. Dues
   12. JH care conference
   13. Dismissal summaries
   14. Dr. Said car class
   15. Record review calls
   16. FMLA
   17. Bryce Mitchell research papers
   18. Consult charges
   19. Call Isadora's mom about appts.
   20. Help Suzan with Maltais CV errors
   21. Fetal referral—call mother
   22. Collaborative Practice Agreements (x2) - Crestanello
   23. Dearani—fetal consult—call mother
   24. Intuitive Introductions—Crestanello
   25. CV surgical numbers to Jon Johnson
   26. MCHS Shadowing for Epic
   27. Shorthand clean-up
   28. Call schedule to MSS and SPS
   29. Epic training reviews
   30. Fetal list on calendar
   31. Registration Scenarios - need to be done by 4/14
   32. Block surgeons unavailable time in Epic
   33. Crestanello -The Leadership Effect meeting
   34. AATS Dues—Crestanello
   35. France visa
   36. Event fund dues




Rachel M. Johnson | Cardiovascular Surgery | Medical Secretary to: Sameh M. Said, M.D. and
Juan A. Crestanello, M.D. | Ph: 507-255-7066 | Fax: 507-255-8674 | iohnson.rachel4@mayo.edu
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                Exhibit O
                CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 81 of 98



From:                          Said, Sameh M., M.D., M.B., B.Ch. [Said.Sameh@mayo.edu] on behalf of Said, Sameh M.,
                               M.D., M.B., B.Ch. <Said.Sameh@mayo.edu>
Sent:                          Thursday, March 22, 2018 3:19 AM
To:                            Johnson, Rachel M. [RO CAR]
Subject:                       Re: So much to do...



He reads my operative reports. I realized today, he made a mistake and it was clear he lies


He told me about the case I did the Ross on her. Asked me technical question. He said that they were concerned why I
did the Ross for this patient and the way I did it is different so I told him "I'm sorry is anesthesia now is going to tell me
how I do the operation?" He said no it was not the anesthesia so I told him cardiologist then? They don't even
understand what I'm doing he said no no it wasn't them but I'm trying to tell you we need to be careful about what we
are doing. Obviously I realized he reads my reports and look up
My cases. ..son of a bitch


Sent from my iPhone


On Mar 21, 2018, at 10:13 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


        Definitely not. He wouldn't know what to do.


        From: Said, Sameh M., M.D., M.B., B.Ch.
        Sent: Wednesday, March 21, 2018 10:12 PM
        To: Johnson, Rachel M. [RO CAR]
        Subject: Re: So much to do...


        Just finished the OR today. Like everyday, I go home when everybody slept already and my wife is not
        happy because she feels I'm upset and she hates Dearani too
        He wouldn't have done what I have done for his patient that died ..
        He is jealous and doesn't appreciate what I have done for this fucking place in less than three years.
        They will not find anybody to fill my shoes if I left.


        Sent from my iPhone


        On Mar 21, 2018, at 10:07 PM, Johnson, Rachel M. [RO CAR] <Johnson.Rachel4(5)mavo.edu> wrote:


                 That's exactly what he thinks. He's playing you worse than Elena did. He doesn't
                 do shit around the hospital but just because he has the title thinks he's the only
                 one that matters and can do whatever he wants. You are of little importance to
                 him


                 From: Said, Sameh M., M.D., M.B., B.Ch.
                 Sent: Wednesday, March 21, 2018 10:05 PM
                 To: Johnson, Rachel M. [RO CAR]
                 Subject: RE: So much to do...


                 I know, this is all act and lie on his side. He just wants to show as if he is helping me. I'm
                 not stupid
                 I know that


                                                                 l




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Then he asks me about Elena today too, brought lots of the past issues as if he reminds
me

He wants to stay in control and this is his last resort. This delay in promotion and
evaluations ..etc are all his tricks. He thinks I'm stupid



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 10:01 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


Did you ask Dearani about your previous reviews? The ones no one can seem to
find    because THEY WERE NEVER DONE


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 9:58 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: So much to do...


I did told him that and I told him send the evaluations because that bitch Renee is also
playing a role. I told him if these people here don't think I'm fit to this place, then it is
better for me to leave. He said: no, no you are of course fit but I want the process to go
smooth. ..blah blah blah
I'm tired
I'm frustrated
I have to look for a different place, and that's what I'm going to do
I can't tolerate Stulak and Maltais bullshitt and tired of Dearani lack of leadership. ..This
is distraction to me and I'm trying to focus
I spend more time here than at Home, I have problems with my wife, I don't see my kids
Fuck
Fuck
fuckkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkkk



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:50 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


Did you really tell him you'd leave? Because that's a good threat. Cardiology
called me today and said "Geez, everyone requests Dr. Said these days! Does
Dearani even do peds anymore besides Ebsteins?" haha


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 9:49 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: So much to do...


Stulak is fucking with me and Dearani is listening to his bullshitt.
Then Dearani wants to delay my promotion to consultant because he thinks my
evaluation may not be good and he doesn't want to risk it, bullshitt
I told him if I'm not consultant by July, I'm leaving
And other crap, I'm just tired. I'm working hard and turned this place upside down but it
is not appreciated and

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That's enough



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:44 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


explain


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 9:44 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: So much to do...


Yes
And I'm really very angry



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:44 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


Why what happened?? Are they still after you?


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 9:43 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: So much to do...


I had a very shitty day and I'm not going to tolerate Dearani or Stulak anymore
I think I will start to look for another place
I hate this fucking place



From: Johnson, Rachel M. [RO CAR]
Sent: Wednesday, March 21, 2018 9:41 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: So much to do...


I thought I got more than this done today            maybe by the end of the week it'll
be all done... Lol I just need to focus


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Wednesday, March 21, 2018 5:27 AM
To: Johnson, Rachel M. [RO CAR]
Subject: Re: So much to do...


I feel dizzy and I have headache...
I personally can't do it. I have no doubt you will be able to do it because you're the most
efficient and multitasking person in Mayo Clinic ( only after me)..
Hang in there girl




                                                 3




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CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 84 of 98
Sent from my iPhone


On Mar 20, 2018, at 10:11 PM, Johnson, Rachel M. [RO CAR]
<Johnson.Rachel4(S)mavo.edu> wrote:


       Here is just a small list of things I need to do in addition to
       scheduling all the patients surgery           I didn't even have
       training last week, it's so hard to focus when there is so much that
       needs to be done


           1.   Trips - Said/Crestanello
           2.   Dental appts on calendar
           3.   Eric Steeves
           4.   CME
           5.   CV
           6.   Rebelein letter
           7.   Ozaki
           8.   Marbree b-day
           9.   Keller flowers
           10. Lauren Hoel story
           11. Dues
           12. JH care conference
           13. Dismissal summaries
           14. Dr. Said car class
           15. Record review calls
           16. FMLA
           17. Bryce Mitchell research papers
           18. Consult charges
           19. Call Isadora's mom about appts.
           20. Help Suzan with Maltais CV errors
           21. Fetal referral—call mother
           22. Collaborative Practice Agreements (x2) - Crestanello
           23. Dearani—fetal consult—call mother
           24. Intuitive Introductions—Crestanello
           25. CV surgical numbers to Jon Johnson
           26. MCHS Shadowing for Epic
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           28. Call schedule to MSS and SPS
           29. Epic training reviews
           30. Fetal list on calendar
           31. Registration Scenarios - need to be done by 4/14
           32. Block surgeons unavailable time in Epic
           33. Crestanello - The Leadership Effect meeting
           34. AATS Dues—Crestanello
           35. France visa
           36. Event fund dues




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      Rachel M. Johnson | Cardiovascular Surgery | Medical Secretary
      to: Sameh M. Said, M.D. and Juan A. Crestanello, M.D. | Ph: 507
      255-7066 | Fax: 507-255-8674 | iohnson.rachel4@mayo.edu
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                Exhibit P
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From:                       Johnson, Rachel M. [RO CAR] [Johnson.Rachel4@mayo.edu] on behalf of Johnson, Rachel
                            M. [RO CAR] <Johnson.Rachel4@mayo.edu>
Sent:                       Monday, July 2, 2018 6:48 PM
To:                         Said, Sameh M., M.D., M.B., B.Ch.; Said, Sameh M., M.D., M.B., B.Ch.
Subject:                    RE: are we going to cry everytime or what? i'm trying to have a human-to-human
                            conversation here




Because you're acting like a teenager and trying to make me feel bad for what I did. I have no shame, people
go to parties where they don't know anyone and end up having to sit by themselves. I did it at a lot of grad
parties and baby/bridal showers. Your mind must just think differently


I'm done arguing


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Monday, July 02, 2018 12:46 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Why did you say what you just said then?



From: Johnson, Rachel M. [RO CAR]
Sent: Monday, July 02, 2018 12:45 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


You think I'm the one being immature


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Monday, July 02, 2018 12:44 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Are you intentionally trying to make me angry right now? I would never expect you will say that even if it is a joke



From: Johnson, Rachel M. [RO CAR]
Sent: Monday, July 02, 2018 12:43 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Do you want your gift back from her then too?


From: Johnson, Rachel M. [RO CAR]
Sent: Monday, July 02, 2018 12:42 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Lol.




                                                             l




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From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Monday, July 02, 2018 12:40 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Like I said, I don't go or accept friend requests from any one I don't know but I did it because of you, so stop that bull
shitt that you're trying to say
I didn't know anyone in that freaking party, so I was not going to push myself and sit with people that I don't know but
you treated me like shitt there and you embarrassed me, but I learned the lesson
I was just too respectful to you but I shouldn't have been



From: Johnson, Rachel M. [RO CAR]
Sent: Monday, July 02, 2018 12:36 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Lol so you felt obligated to go.


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Monday, July 02, 2018 12:35 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


I didn't know her either but I came as a respect to you and the same for her friend request on face book, I accepted it
because of you too
May be I shouldn't have gone so I'm not sure why are you acting like this?
I'm assuming you're mature enough to have some kind of sense conversation




From: Johnson, Rachel M. [RO CAR]
Sent: Monday, July 02, 2018 12:33 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


She wanted to invite you
You're the one that assumes everything


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Monday, July 02, 2018 12:30 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Woww!!
There is no need for all that yelling. I came for your sister party because of your invitation
Now, I'm sorry that I came
No problem



From: Johnson, Rachel M. [RO CAR]
Sent: Monday, July 02, 2018 12:28 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here



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I am not committed to you in any way. My sister invited you to HER party, it was not MY party therefore I
should not feel obligated to have to speak with you the entire time. Everyone else there was family/friends
that I hadn't seen in a long time and I wanted to spend time with them. You act like I'm your girlfriend


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Monday, July 02, 2018 12:26 PM
To: Johnson, Rachel M. [RO CAR]
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Unbelievable, why are you like this?




From: Johnson, Rachel M. [RO CAR]
Sent: Monday, July 02, 2018 12:26 PM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: RE: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here


Good for you. You can talk to yourself from now on


From: Said, Sameh M., M.D., M.B., B.Ch.
Sent: Monday, July 02, 2018 12:25 PM
To: Johnson, Rachel M. [RO CAR]
Subject: are we going to cry everytime or what? i'm trying to have a human-to-human conversation here




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                Exhibit Q
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From:                      Said, Sameh M., M.D., M.B., B.Ch. [Said.Sameh@mayo.edu] on behalf of Said, Sameh M.,
                           M.D., M.B., B.Ch. <Said.Sameh@mayo.edu>
Sent:                      Wednesday, June 13, 2018 6:21 AM
To:                        Johnson, Rachel M. [RO CAR]; Johnson, Rachel M. [RO CAR]
Subject:                   Fwd: Cicek case today



I'm going crazy right now from this son of a bitch and his friend


So I emailed Cetta and Jon about it and I'm going to destroy both Cicek and Dearani on Monday conference
when the case is presented
He is not going to touch a kid from now on so as long I'm alive
Fuck fuck fuckkkkkkkkkkk


Sent from my iPhone


Begin forwarded message:


        From: < S aid . S ameh@mavo . edu>
        Date: June 13, 2018 at 12:15:42 AM CDT
        To: <Johnson. Jonathan@mayo . edu>. <Cetta.Frank@mayo.edu>
        Subject: Cicek case today


        Hi Jon and Frank
        The case that was done today is a disaster by all means. This is a straightforward conduit change
        and it has to be a 100% success but for a poor little girl to end up with a mechanical truncal valve
        and a thrombosed femoral artery requiring vascular surgery intervention in addition to more than
        two hours of circulatory arrest and on ECMO with Pulmonary hemorrhage because of a lousy
        surgeon is not acceptable in my mind.
        First the plan when the case was discussed on Monday is just conduit change and that's why we
        discuss these cases so the plan stays the same. Second, this guy Cicek can't just bring kids here
        to operate upon and we pay the price of his complications.
        Something needs to change and we can't afford losing a kid in a straightforward operation as you
        all know. We are just recovering from Bassem Mora era that Dearani put the program in it and
        we can't go back there again.
        Thanks
        Sameh


        Sent from my iPhone




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                                                    Confidential                                               MAYO 000888
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                Exhibit R
                                               CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 93 of 98
From:      "Said, SamehM., M.D., M.B., B.Ck"<Said.Saireb@nByo.edu>, "Said, Sanxh M„ M.D., M.B., B.Ch."<"/0=MAY0 CLINIC/OU=FIRST ADMINISTRATIVE
           GROUP/CN=RECIPIENTS/CN=M023989">
Sent on: Friday, July 20, 2018 3:47:47 PM

To:        Johnson, Rachel M. [RO CAR] <JohnsonRachel4@mayo.edvf>; "Johnson, Rachel M. [RO CAR]" <"/0=MAY0 CLINlC/OU=EXCHANGE ADMINISTRATIVE GROUP
           (FYDlBOHF23SPDLT)/CN=RECIPIENTS/CN=M14489725c">
Subject: RE: Timecard




Every time I read this fucking email I get irritated. What does she think by sending you this fucking irritating question, it means she doesn't trust you and you are a liar. Not a good way to have good
relation with your co-workers
You know I have your back 200%, but I don't want to do anything unless you give me a green light, so let me know and I'll handle it
We miss you at work, so come back quickly ©, the office is tasteless when you are away


From: Johnson, Rachel M. [RO CAR]
Sent: Friday, July 20, 2018 8:44 AM
To: Said, Sameh M., M.D., M.B., B.Ch.
Subject: FW: Timecard


Every fucking time I'm away she tries to throw me under. She had to specifically go in and look at my timecard this morning since timecards are not due until next Wednesday. But I'll
show her, she think she can win, but I prove her wrong every time.          If she wants me to verify, I will verify more than she ever expected.


From: Johnson, Rachel M. [RO CAR]
Sent: Friday, July 20, 2018 8:42 AM
To: Roller, Melody J.
Subject: RE: Timecard


I don't know how else to verify but here are my sent emails from yesterday and the times. There should be a gap around 11am when I said I was going to log off and work on Dr. Said's CV and
trips which I only did for like 25 minutes. I took a quick lunch and didn't log back in to the laptop right away as you'll see I sent his trip list to myself prior to logging off in the morning so called a
hotel to book a room for a trip for Dr. Said then I updated the dot calendars for both surgeons trips. It started to rain here about 12:45 so I went down to the lodge for the rest of the evening and
during that time, made 2 other hotel reservations, reserved flights for his Mayo Clinic FL rotation, and finalized things for his trip to Toronto in September.


Can we discuss this further when I return? I feel like I'm not trusted and usually am accused of doing something wrong while away on vacation.


Thanks,
Rachel




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From: Roller, Melody J.
Sent: Friday, July 20, 2018 7:39 AM
To: Johnson, Rachel M. [RO CAR]
Subject: Timecard




                                                                               Confidential                         MAYO 001216
                                              CASE 0:20-cv-00927-ECT-JFD Doc. 70-1 Filed 05/03/21 Page 96 of 98
Please verify accuracy of your time card for Thursday, July 19.
Thank you,


Melody J. Roller | Cardiovascular Surgery | Secretarial Supervisor and Medical Secretary to: Richard C. Daly, MD and Alberto Pochettino, MD | Plx 507-255-7065 | Fax: 507-255-8674 | Pager:
127-02122 | roller. me1odv@rmvo . edu | Mayo Clinic | 200 First Street SW | Rochester, MN 55905 | mavoc1inic.org
Mayo Clinic, a mission-driven worldwide leader in health care for 150 years. httD://150vears. mavoclinic.org/




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                Exhibit S
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From:                       Said, Sameh M., M.D., M.B., B.Ch. [Said.Sameh@mayo.edu] on behalf of Said, Sameh M.,
                            M.D., M.B., B.Ch. <Said.Sameh@mayo.edu>
Sent:                       Saturday, May 26, 2018 2:01 PM
To:                         Johnson, Rachel M. [RO CAR]; Johnson, Rachel M. [RO CAR]
Subject:                    HR



You mentioned that I'm meeting with someone from HR. Who is this person and what is it about? If she doesn't say,
then I'm not meeting with her/him
If it is Stephanie Guidinger again, tell her I will only meet with her in the presence of Joe Dearani and Renee Jones
because those people are liars and everyone say something different than the others and I'm in the middle so I want to
put them all in one room face to face
Thanks




                                                             l




                                                        Confidential                                                MAYO 000894
